
PER CURIAM.
Affirmed. Cochran v. State, 547 So.2d 928 (Fla.1989); State v. Murray, 443 So.2d 955 (Fla.1984); Gentry v. State, 437 So.2d 1097 (Fla.1983); Reimel v. State, 532 So.2d 16 (Fla. 5th DCA 1988), review denied, 542 So.2d 989 (Fla.1989); Carpenter v. State, 474 So.2d 1237 (Fla. 5th DCA 1985); Houston v. State, 394 So.2d 557 (Fla. 3d DCA 1981); Horne v. State, 116 So.2d 654 (Fla. 2d DCA 1959).
